                           NOT FOR PUBLICATION                           FILED
                                                                         AUG 27 2024
                    UNITED STATES COURT OF APPEALS
                                                                      MOLLY C. DWYER, CLERK
                                                                       U.S. COURT OF APPEALS
                           FOR THE NINTH CIRCUIT

UNITED STATES OF AMERICA,                       No. 24-1533
                                                D.C. No.
             Plaintiff - Appellee,              3:16-cr-00032-SLG-KFR-1
 v.
                                                MEMORANDUM*
RONNIE MORENO,

             Defendant - Appellant.

                   Appeal from the United States District Court
                            for the District of Alaska
                   Sharon L. Gleason, District Court, Presiding

                           Submitted August 20, 2024**

Before:      S.R. THOMAS, RAWLINSON, and COLLINS, Circuit Judges.

      Ronnie Moreno appeals from the district court’s order denying his motion

for compassionate release under 18 U.S.C. § 3582(c)(1)(A)(i) and motion for a

sentence reduction under 18 U.S.C. § 3582(c)(2). Pursuant to Anders v.

California, 386 U.S. 738 (1967), Moreno’s counsel has filed a brief, along with a


      *
             This disposition is not appropriate for publication and is not precedent
except as provided by Ninth Circuit Rule 36-3.
      **
             The panel unanimously concludes this case is suitable for decision
without oral argument. See Fed. R. App. P. 34(a)(2).
motion to withdraw as counsel of record. We have provided Moreno the

opportunity to file a pro se supplemental brief. No pro se supplemental brief or

answering brief has been filed.

      Our independent review of the record pursuant to Penson v. Ohio, 488 U.S.

75, 80 (1988), discloses no meritorious grounds for relief as to whether the district

court abused its discretion in denying the motion for compassionate release, see

United States v. Aruda, 993 F.3d 797, 799 (9th Cir. 2021), or in concluding that the

18 U.S.C. § 3553(a) factors militated against early release under § 3582(c)(2), see

Dillon v. United States, 560 U.S. 817, 826-27 (2010) (the second step of

§ 3582(c)(2)’s two-step inquiry requires the district court to determine, in its

discretion, whether the applicable § 3553(a) factors support a sentence reduction).

      Moreno’s pro se motion (Docket Entry No. 16) requesting immediate

transfer to a halfway house in Alaska is denied. See 18 U.S.C. § 3621(b); United

States v. Ceballos, 671 F.3d 852, 855 (9th Cir. 2011) (the Bureau of Prisons has

exclusive authority to determine a prisoner’s place of confinement).

      Counsel’s motion to withdraw is GRANTED.

      AFFIRMED.




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